
99 N.Y.2d 650 (2003)
PARSONS &amp; WHITTEMORE, INC., Appellant,
v.
405 LEXINGTON, L.L.C., et al., Respondents.
PARSONS &amp; WHITTEMORE, INC., Third-Party Plaintiff-Appellant,
v.
ABADY, LUTTATI, KAISER, SAURBORN &amp; MAIR, P.C., et al., Third-Party Defendants-Respondents, et al., Third-Party Defendant.
Court of Appeals of the State of New York.
Submitted February 18, 2003.
Decided April 8, 2003.
Motion, insofar as it seeks leave to appeal as against 405 Lexington, L.L.C., denied; motion, insofar as it seeks leave to appeal as against third-party respondents, dismissed upon the ground that as to those parties the order sought to be appealed from does not finally determine the action within the meaning of the Constitution. Motion for continuation of stay denied.
